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                                          JOSEPH M. BRUNO
                                          BRUNO & BRUNO
                                      855 BARONNE STREET
                              NEW ORLEANS, LOUISIANA 70113

Telephone: (504) 525-1335 exL 192or 186
Fax (504) 523-2165
email: ioebruno@bninobrunolaw.com
email: briinolawlcani@email.com


                                 Contract of Representation

        It is agreed by tlie undersized that BRUNO &BRUNO (the Law firm) will represent,
institute, manage and investigate theclaim of:

NAME:                                                                  _hereinafter"CLIENT'

ADDRESS OF PROPERTY: 5*75"7                                   tlC. ,hJO,CA              ^wilh
 respect to damages which were aresult ofHurricane's Katnna and Rita.' "^{ol
         BRUNO &BRUNO, attheir expense, are tofurnish all necessary personnel to detemme the
 extent and cost oftheabovereferenced "CLIENT'S" hurricane damages. CLIENT hereby agrees
 that BRUNO &BRUNO and their designated personnel, have the authority to negotiate wih any of
 the CLIENT*Sinsurers personnel or employees. That BRUNO &BRUNO's representation ceases
 witli the submission ofa'satisfactory proofofloss* letter tothe CLIENT'S insurer and uponrefusal
 by the insurance company to pay tlie claim^ At that point CLIENT- and BRUNO &BRUNO will
 make a decision on whether tofile alawsuit against the insurer. IfCLIENT and BRUNO &BRUNO
 agree to file a lawsuit a newcontract will beexecuted.

     . In consideration of this agreement to perform legal services for the above referenced
 CLIENT, CLIENT herein agrees that the fee agreement isas follows:
          BRUNO &BRUNOwillbe paid                     % ofthe difference between.
  the amount currently being offered for the loss, and the total monies received by the CLIENT arising
  from CLIENTS' hurricane damages.

                            drawn            inccVithtlie provisions ofLouisiana Law contained inILS.
                                 ^3028.




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